
26 Ill. App.2d 498 (1960)
168 N.E.2d 809
Willie Jordan, Plaintiff-Appellee,
v.
Mrs. Weston, et al., Defendants-Appellants.
Gen. No. 47,881.
Illinois Appellate Court  First District, Third Division.
May 25, 1960.
Rogers, Rogers, Strayhorn, and Harth, of Chicago (Howard T. Savage, of counsel) for defendants-appellants.
Gomberg, Missner, and Lacob, of Chicago, for appellee.
(Abstract of Decision.)
Opinion by PRESIDING JUSTICE BRYANT.
Reversed.
Not to be published in full.
